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                                          IN THE UNITED STATES DISTRICT COURT
                                       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
            C C2~                                    (WHEELING)
UNITED STATES OF AI~1ERICA,
Plaintiff

Vs.                                                            Crim. Action No.: 5:20CR16-8
                                                               Judge Bailey                               MAR 28 2022
ANDRE CORNELL DIGGS.                                                                               U.S. DIsTR,c
Defendant.                                                                                            WHEEL,Nj ~~T~WVND




          MOTION OBJECTING TO THE COURTS “ORDER” (Doc. # 945) 2-17-22 AS A PREMATURE “ORDER”




  Comes now pro se               Defen dant as follows;




                                                I. BACKGROUND




1. On 1-12-2022 I filed a pro se Motion pursuant to 1 8USC Section 3582, as well as for the appointment of Counsel
(Doc.# 925 & 926)

2. On 2-1-2022 The United States responded in (Doc.# 933) through the AUSA Shawn M. Adkins.
[SEE Exhibit-A]

3. On 2-11-2022 I filed a reply to the Government’s 2-1 -2022 response and gave it to the Unit Officer. Due to Covid-19 and
FCI Cumberland Iockdown the reply did not go out until 2-18-2022. The normal procedure is to walk your mail to the mailroom
during lunch. When the unit is locked down, however, the officer picks up the legal mail and it does not necessarily go out that
day, which was the case here. Nevertheless, the Mail Rule would apply to me so my file date would be 2-11-2022.
[SEE Exhibit-A-i]

4. On 2-17-2020 (Doc.# 945) the Court [not being fully briefed] issued an ORDER in this case denying my Motion for
Reduction of Sentence and Appointment of Counsel (Doc.# 925 &926).



                                                   CONCLUSION


  Pursuant to the Mail Rule on 2-11-2022 my reply Motion was filed as stated in Number 3 above. The FCI mail room did not
mail out any of the mail which was turned in until 2-1 8-2022, through no fault of my own.
T H E R E F 0 R E the Court made its 2-17-2022 (Doc.# 945) ORDER/Ruling without being fully briefed.
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W H E R E F 0 R E, I ask this Court to resend its own ORDER and hear my 2-11-2022 reply to the AUSA’s; “RESPONSE IN
OPPOSITION TO MOTION FOR COMPASSIONATE RELEASE” my reply objections are marked as Exhibit A-i or in any
                                                                 -                                               -

manner the Court wants to grant relief so that my side is completely heard. I T I S 5 0 P R A Y E D


Respectfully Submitted, X______________________________ March             ~,     2022



                                          CERTIFICATE OF SERVICE

I hereby state that a copy of the foregoing was mailed out on March   J, 2022 by First Class Mail to the following:
~                                                      2. Assistant United States Attorney

x
Andre Cornell Diggs 67761
Federal Correctional Institution
PC Box 1000
Cumberland, MD 21501-1000
